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                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA


UNITED STATES                                     :
                                                  :
 v.                                               :
                                                  :   Criminal No. 15-CR-290 (LO)
NOE MONTES BOBADILLA,                             :
                                                  :
       Defendant.                                 :


                                      NOTICE OF FILING

               Defendant Noe Montes Bobadilla, by and through undersigned counsel,

respectfully submits the attached letter to the Court and states as follows:

               The government moved for Attorney A. Eduardo Balarezo’s disqualification as

counsel for Mr. Montes on the grounds of scheduling and client conflicts. The Court held a

hearing on the government’s motion on September 4, 2018, at which time the Court found that

Mr. Balarezo’s scheduling conflict merited his disqualification. The Court did not rule upon the

alleged client conflicts. At the end of the hearing, Mr. Montes asked to address the Court;

however, the Court denied his request and advised him to write a letter. Mr. Montes now

submits his letter to the Court.
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                WHEREFORE, Mr. Montes respectfully requests that the Court consider his

letter and allow Attorney Balarezo to represent him in this matter and to continue trial.

Dated: Washington, DC
       September 12, 2018                     Respectfully submitted,

                                              LAW OFFICE OF DANIEL K. DORSEY

                                                     /s/
                                      By:     ____________________________________
                                              Daniel K. Dorsey, Esq.
                                              VA Bar # 43559
                                              400 Seventh Street, NW
                                              Suite 306
                                              Washington, DC 20004
                                              Tel. 202-347-9000
                                              Fax. 202-783-5407




                                 CERTIFICATE OF SERVICE

                I HEREBY CERTIFY that on this 12th day of September 2018, I caused a true

and correct copy of the foregoing Defendant’s Notice of Filing to be delivered via ECF to the

parties in this case.

                                                            /s/
                                                     ______________________________
                                                     Daniel K. Dorsey, Esq.




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